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   1                          UNITED STATES BANKRUPTCY COURT

   2                          NORTHERN DISTRICT OF CALIFORNIA

   3                                           -oOo-

   4     In Re:                                  ) Case No. 19-30088
                                                 ) Chapter 11
   5     PG&E CORPORATION                        )
                                                 ) San Francisco, California
   6                - and -                      ) Tuesday, April 14, 2020
                                                 ) 10:00 AM
   7     PACIFIC GAS AND ELECTRIC                )
         COMPANY                                 ) APPLICATION OF THE OFFICIAL
   8                                             ) COMMITTEE OF TORT CLAIMANTS
                             Debtors.            ) PURSUANT TO 11 U.S.C. SECTION
   9     _____________________________           ) 1103 AND FED. R. BANKR. P.
                                                   2014 AND 5002 TO RETAIN AND
  10                                               EMPLOY CATHY YANNI AS CLAIMS
                                                   ADMINISTRATOR NUNC PRO TUNC
  11                                               TO JANUARY 13, 2020 THROUGH
                                                   THE EFFECTIVE DATE OF THE
  12                                               RESOLUTION TRUST AGREEMENT
                                                   [5723]
  13
                                                   APPLICATION OF THE OFFICIAL
  14                                               COMMITTEE OF TORT CLAIMANTS
                                                   PURSUANT TO 11 U.S.C. SECTION
  15                                               1103 AND FED. R. BANKR. P.
                                                   2014 AND 5002 TO RETAIN AND
  16                                               EMPLOY HON. JOHN K. TROTTER
                                                   (RET.) AS TRUSTEE NUNC PRO
  17                                               TUNC TO JANUARY 13, 2020
                                                   THROUGH THE EFFECTIVE DATE OF
  18                                               THE RESOLUTION TRUST
                                                   AGREEMENT [5726]
  19
                                                   MOTION OF DEBTORS PURSUANT TO
  20                                               11 U.S.C. SECTIONS 105(a) AND
                                                   363(b) AND FED. R. BANKR. P.
  21                                               9019 FOR ENTRY OF AN ORDER
                                                   APPROVING (I) AGREEMENT AND
  22                                               SETTLEMENT WITH PEOPLE OF THE
                                                   STATE OF CALIFORNIA AND (II)
  23                                               GRANTING RELATED RELIEF FILED
                                                   BY PG&E CORPORATION [6418]
  24

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   1                                                THE OFFICIAL COMMITTEE OF
                                                    TORT CLAIMANTS' MOTION FOR
   2                                                STANDING TO PROSECUTE CLAIMS
                                                    OF THE DEBTORS ESTATES'
   3                                                [5972]

   4

   5                              TRANSCRIPT OF PROCEEDINGS
                             BEFORE THE HONORABLE DENNIS MONTALI
   6                           UNITED STATES BANKRUPTCY JUDGE

   7

   8     APPEARANCES (ALL TELEPHONICALLY):
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  19     Also Present:                         WILLIAM B. ABRAMS, Individual and
                                               Tubbs Fire Victim
  20

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   1     Court Recorders:                      LORENA PARAD AND ANKEY THOMAS
                                               United States Bankruptcy Court
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   3

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  24     Proceedings recorded by electronic sound recording;
         transcript provided by transcription service.
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                      PG&E Corp. and Pacific Gas and Electric Co.

   1       SAN FRANCISCO, CALIFORNIA, TUESDAY, APRIL 14, 2020, 10:00 AM

   2                                             -oOo-

   3             (Call to order of the Court.)

   4                 THE CLERK:      Calling the matter of PG&E Corporation.

   5                 THE COURT:      All right.      Good morning, everyone.             This

   6     is Judge Montali remotely.             Welcome everyone to the court.

   7     Hope you're all well, and I hope you can all hear me.                    We have

   8     quite a number of people on the line today, so I remind you

   9     again, because of the remote connections, I'll try to identify

  10     and recognize the person who I believe will be speaking next,

  11     and if someone else is waiting to be called or to be heard,

  12     please be patient.        I'll try to ask for any of you to speak

  13     next.     I think I know who the principal players are, but I

  14     won't leave anybody out.

  15                 Unless counsel for the debtor wishes to proceed in a

  16     different manner, I thought I would start with the motions by

  17     the TCC for appointment of Justice Trotter and Ms. Yanni.                       Then

  18     we go to the motion by the debtors for the Butte fire

  19     settlement, and then finally the TCC dispute with the

  20     litigation plaintiffs on their standing issues.

  21                 So Ms. Green, are you appearing for the TCC on the

  22     first matter?

  23                 MS. GREEN:      Yes, sir.

  24                 THE COURT:      Okay.      So I see that you uploaded an

  25     order.     Does that mean peace has broken out between TCC --

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   1                MS. GREEN:       Yes.

   2                THE COURT:       -- and the debtor?

   3                MS. GREEN:       Your Honor, I'm actually pleased to say

   4     we've done this issue.          We have uploaded orders, both for the

   5     Justice Trotter and Cathy Yanni retentions, that have been

   6     approved by the plan proponents, meaning the debtor and equity

   7     and the reservation of rights parties -- the various parties

   8     who filed reservation of rights statements -- and so that order

   9     is good to go if Your Honor is happy with it.

  10                THE COURT:       Well, I'm not --

  11                MS. GREEN:       I can go through --

  12                THE COURT:       I'm not trying to --

  13                MS. GREEN:       -- what it says if you would like me to.

  14                THE COURT:       Well, no.      I've read it.      No, I want to

  15     cut this short.        I'm not going to deny it, but I need to get

  16     some clarification.

  17                MS. GREEN:       Yes, sir.

  18                THE COURT:       So let's see if you can answer, and then

  19     if not, Mr. Karotkin or someone from the debtor can answer.

  20                So I was comparing the motion -- or excuse me, the

  21     request -- that the TCC filed on March 25th.                 That was doc

  22     6486.    And it seems to have changed a little bit.

  23                So first of all, in that motion there was a million

  24     dollar funding for a financial advisor.               That appears to have

  25     disappeared.        Is that correct?

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   1                MS. GREEN:       Your Honor, there is a budget which was

   2     attached, actually, to the request for hearing and also to

   3     the --

   4                THE COURT:       Yes, I --

   5                MS. GREEN:       -- supplement, which we filed yesterday.

   6     And there is a financial advisor line item for 1,375,000

   7     dollars, but that is included in the payment set forth on

   8     paragraph 6 of the proposed orders.

   9                THE COURT:       Well, I'm looking at the -- oh, I'm sorry.

  10     There it is.        It's -- okay.      It kicks in later.           I think what

  11     threw me off was -- I do see financial.               Right.        So has that

  12     financial advisor been identified?

  13                MS. GREEN:       Your Honor, I think that Ms. Yanni and

  14     Justice Trotter have spoken to financial advisors, although I

  15     don't know that they've actually been retained yet.

  16                THE COURT:       And then another mystery, because there

  17     was in the -- excuse me one second here.                I'll get my -- ask my

  18     question more carefully.

  19                The 2.5 million dollars to be paid to BrownGreer,

  20     based upon the order from last September, that wasn't mentioned

  21     anywhere, and now it's in the proposed order, or the proposed

  22     disposition.        So can you --

  23                MS. GREEN:       Yes, Your Honor.        I can address that.           So

  24     there was an order related to the BrownGreer database for

  25     information that BrownGreer was providing both to the debtors

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   1     and to the TCC related to estimation and claims amounts, and

   2     that order provided that BrownGreer would get paid.

   3                As part of the negotiation of this order, I believe

   4     that Judge Newsome suggested that we put this provision in this

   5     order just so we tied everything up in a bow and that payment

   6     to BrownGreer got made.         And that's why it's in the order,

   7     although it was not in the request.             I did try to reference

   8     that by docket number so that everything will link up on the

   9     docket, and then we'd file this.

  10                THE COURT:      But that's what threw me off a bit,

  11     because I went back and looked at the prior order, and the

  12     prior order doesn't say anything about payment.                    Now, again,

  13     I'm not here to complain if there's an agreed payment, but the

  14     order was very, very sparse and scant.

  15                Are you representing, and Mr. Karotkin can confirm,

  16     that the debtor is agreeing to pay that additional 2.5 million

  17     dollars?

  18                MS. GREEN:      Yes, Your Honor.        It was set forth,

  19     really, in paragraph number 11 of the order, production of the

  20     BrownGreer database, and there has been discussions between the

  21     debtor and the TCC.        And Mr. Karotkin can speak for himself,

  22     but he has agreed to that provision, yes.

  23                THE COURT:      He doesn't need to.         I'll take your

  24     representation, because I --

  25                MS. GREEN:      Yes.

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   1                THE COURT:      I know him well enough to say and know

   2     that he will speak up if he didn't agree.               But my point is, I

   3     went back and just simply didn't relate the thing.                  Okay.

   4                A couple of more questions.            One of the things that --

   5     well, as I read it, and let's make sure I've got it right.

   6     Originally, going back to last month, the debtors -- or the TCC

   7     was looking for additional -- a much larger amount to come from

   8     the debtor.    The debtor said no.            And now this agreed order has

   9     the debtor paying 2.5 million dollars twice, one 2.5 million

  10     dollar amount to BrownGreer, which is kind of on the side, and

  11     another 2.5 million to I'll just say Trotter/Yanni, but meaning

  12     them and their immediate organizations.

  13                And then after that, all the payments that are made

  14     under this broader proposal is ultimately going to be borne

  15     from the 13.5-billion-dollar settlement trust.

  16                I got it right?

  17                MS. GREEN:      Correct.      Yes, you do.

  18                THE COURT:      Okay.      Okay.    So one of the things, again,

  19     not to second guess all the professionals that are working on

  20     this, is, nevertheless, I'm kind of in the dark, because all I

  21     get was what I got yesterday.            There is nothing that --

  22                First of all, I would have liked to have had an

  23     affirmative statement from either Justice Trotter or Ms. Yanni

  24     to the effect that they've agreed to all this, but I'll take

  25     your representation that they have.              But more importantly, I

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   1    need a clarification of paragraph 21 of the document, the

   2    supplement that you filed yesterday, that says the payments

   3    terminate if the wildfire victims do not accept the plan at the

   4    conclusion of the confirmation hearing.

   5                Well, does that mean if the impaired class votes

   6    against the plan that paragraph 21 is triggered, and this whole

   7    thing explodes?        What does that mean?

   8                MS. GREEN:       So if you look, actually, I think it's a

   9    little clearer in the order, Your Honor, but basically the

  10    first payment -- other than the 2.5 million that is due to

  11    Trotter and Yanni -- of 9,767,593 is due on May the 30th, 2020.

  12    And the reason for that is Mr. Karotkin made it clear that he

  13    did not intend to make those payments if the wildfire victims

  14    voted against the plan.

  15                Also, the provision related to confirmation is if the

  16    Court does not confirm the plan, obviously these payments will

  17    cease to be made.

  18                THE COURT:       But what if the victims vote against the

  19    treatment, but the plan gets confirmed anyway?                  Then what

  20    happens?

  21                MS. GREEN:       Then these payments would be made after

  22    confirmation.        So --

  23                THE COURT:       Okay.

  24                MS. GREEN:       This would be basically --

  25                THE COURT:       I'm going to --

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   1                MS. GREEN:     -- in between confirmation and the

   2    effective date.

   3                THE COURT:     Okay.       But if there's no confirmation of

   4    this plan -- and I don't want to go to the contingency.                   But if

   5    this -- this is -- we're talking about the plan that's on the

   6    table that is the subject of all the activity now.                  If that

   7    plan gets confirmed, and then everything goes according to the

   8    schedule here, and let's assume the wildfire class votes to

   9    accept the plan, and the plan is confirmed.                Fine.

  10                If the plan is not confirmed, or the wildfire victims

  11    do not accept the plan, then if I understand you correctly,

  12    this thing, kind of, runs aground.             Is that what --

  13                MS. GREEN:     Correct.

  14                THE COURT:     Okay.

  15                MS. GREEN:     Because there's no reason for the trust to

  16    be up and running if the plan isn't confirmed.

  17                THE COURT:     Well, but there will have been -- well,

  18    maybe you already said this.            No, there's a five-million-dollar

  19    payment that needs to be made within days.                So if I

  20    understand --

  21                MS. GREEN:     Your Honor, you're looking at my

  22    supplement and not at the order.             We uploaded that change in

  23    the order, and so the order provides 2.5 -- it's on page 4 --

  24    2.5 million dollars within three business days of the order.

  25    So that's basically for the work that Justice Trotter and Cathy

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   1    Yanni and their team have begun in January and are continuing

   2    to do.

   3                The second payment is due on May the 30th, fifteen

   4    days after the voting deadline now, and that's 9,767,093.                     And

   5    then the third payment on June 30th and the fourth on July

   6    31st.

   7                THE COURT:     Okay.       Ms. Green, I know you've been busy,

   8    and some of us have spare time, but I didn't see your

   9    supplement until 3 o'clock yesterday when you filed it, and I

  10    think you uploaded the order this morning, so --

  11                MS. GREEN:     I apologize.       It was --

  12                THE COURT:     Oh, no.       You don't have to apologize.          I

  13    just can't keep up with you.

  14                MS. GREEN:     Right.

  15                THE COURT:     Okay.

  16                MS. GREEN:     So there's cat herding, but I think we did

  17    a --

  18                THE COURT:     I am not critical of anything.             I'm glad

  19    to see it happening.        But I still have some more questions.

  20                MS. GREEN:     Yes, sir.

  21                THE COURT:     So going to the budget and then the

  22    supplement, I learned for the first time about Mr. Kennedy, but

  23    I don't see -- is Mr. Kennedy a line item in the budget, or is

  24    he part of BrownGreer, or where does he fit in the process?

  25                MS. GREEN:     Your Honor, I think he's part of the

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   1    administrative staff line item on the budget.

   2                THE COURT:     Okay.       So one thing that's unclear.

   3    Again --

   4                MS. GREEN:     Oh, no.      I know where he is.         He's the

   5    fire claims budgeting staff.            I apologize.

   6                THE COURT:     He's in the budgeting staff, but for some

   7    reason you saw a need to separate him out.                Again, I don't

   8    care.    It's okay.     But I just, you know, one of these mysteries

   9    where late yesterday I learn about Mr. Kennedy, and I got to

  10    know what his role is.

  11                So what I'm having trouble understanding is -- well,

  12    first of all, what's just not clear at all is that if I approve

  13    this today, as I assume I will, or today or tomorrow promptly,

  14    then things start to happen, and the budget certainly says that

  15    if substantial sums of money are accrued or paid -- if they

  16    haven't already accrued or paid -- and yet there's been no

  17    disclosure of any detail or explanation of why, with two very

  18    qualified and very well compensated senior people in the form

  19    of Justice Trotter and Ms. Yanni, plus now Mr. Kennedy, who's a

  20    lawyer, plus an enormously complicated staff of various people,

  21    as described in the supporting declaration, we also have seven

  22    lawyers in, essentially, like, a separate law firm.                   It's not a

  23    separate law firm.        I understand.       But it's a practice group,

  24    and there's no explanation as to what they are doing and why

  25    they're doing it.

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   1                So again, I don't want to sound like a scrooge here,

   2    but you need to explain to me why there is a --

   3                MS. GREEN:     Yes, Your Honor.

   4                THE COURT:     -- 4.5-million-dollar item for what looks

   5    like an extra layer of very, very high-priced legal assistance

   6    of three very qualified legal people running the show in any

   7    event.    So help me understand that a little better, please.

   8                MS. GREEN:     Yes, Your Honor.        So Justice Trotter and

   9    Ms. Yanni have retained Brown Rudnick as counsel to Justice

  10    Trotter as trustee and Ms. Yanni as claims administrator.                     And

  11    so these are fees related to Brown Rudnick's work that they did

  12    with creating the trust document itself.               They did a lot of

  13    work making sure that the rights of the trustee and the claims

  14    administrator were protected in connection with that and in

  15    connection with the CRP.          And then their work is going to

  16    relate to the claims process under the trust agreement itself.

  17                And so that's the legal that is referred to there.                  It

  18    is not a Baker & Hostetler legal team. It's the legal team for

  19    the trustee himself.

  20                As you might imagine --

  21                THE COURT:     Just there's no --

  22                MS. GREEN:     The trustee is going to have 13.5 billion

  23    dollars in money that's going to come to him.                 He wants to be

  24    well protected and make sure that he's properly taking care of

  25    the various issues related to the trust on the legal side.

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   1                THE COURT:     Ms. Green, I understand that.             I don't

   2    want to spend a large portion of that 13.5 billion dollars on

   3    people that weren't fire victims, and I --

   4                MS. GREEN:     Thank you.

   5                THE COURT:     I just need to have a better sense.

   6                So think about the basic bankruptcy analysis here.                 We

   7    don't have a confirmed plan.            We don't have a trust in place.

   8    And yet high-paid professionals are being not hired or

   9    authorized their employment under Section 330, but effectively

  10    that's what's happening, and yet there's virtually no

  11    traditional oversight or review process.

  12                I'm told in your papers that Justice Trotter himself

  13    is going to review the time records.              Well, frankly, I don't

  14    really want a senior person, who is paid a very high amount of

  15    money, reviewing fee applications.             It's not efficient.        But I

  16    don't know how this thing has any kind of protection for the

  17    benefit of the beneficiaries in a more traditional way when you

  18    think about the role the Court has played to date with the fee

  19    examiner and so on.        So tell me why this should be treated

  20    differently, so we are not -- obviously I don't want my

  21    comments to be construed as faulting or questioning the

  22    integrity or the value of the services.               But it's just a very

  23    unconventional alignment of professionals.                So help me

  24    understand that better, please.

  25                MS. GREEN:     Yes, Your Honor.        So since it is post-

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   1    confirmation money, essentially, that's being transferred to

   2    the trust, because the funds are being deducted from the

   3    payment to the victims, we thought it appropriate that the

   4    trustee be the party who is reviewing fees, or his team, so

   5    that he's ensuring that they're doing the work related to the

   6    trust itself.

   7                They're not really technically 1103 or 330

   8    professionals, because they're working for this putative

   9    trustee.     And I understand the complexity of the issues related

  10    to the trust agreement, and that we're, sort of, in a pre-

  11    confirmation stage.        But in terms of talking with Justice

  12    Trotter, he believes that he is the person who would have the

  13    most knowledge about what these people are doing and whether or

  14    not their fees are reasonable, which is where we came up with

  15    the reporting requirements that Justice Trotter has to the

  16    Court.

  17                THE COURT:     Well, I wish him well, but I'm looking at

  18    his credentials and his experience.              I think he's got better

  19    things to do than review fee applications.

  20                But tell me this, Ms. Green.           Does the bankruptcy

  21    court -- not me personally, but the institution -- have any

  22    role at all in any of these post-effective date reviews of

  23    payments of professionals and adequacy of fees and what have

  24    you or not?

  25                MS. GREEN:     Well, normally there would be some type of

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   1    quarterly reporting of the trust to the Court as to what the

   2    professionals fees were, et cetera, in a traditional trust

   3    agreement, as opposed to an actual fee application to the

   4    Court, because they're not actually being employed by the

   5    estate or the committee.          They're being employed by the post-

   6    confirmation liquidating trust.

   7                THE COURT:     I know.      But that sounds good, but it's

   8    not true, because they're being employed, essentially, today,

   9    by a trust that isn't in place yet, under a plan that hasn't

  10    been confirmed yet.        So again, I'm not going to block the

  11    process.     I just want to understand the process.

  12                You've explained it adequately.            Again, this is going

  13    to sound like I am being a scrooge, but I'm not, I hope.                      When

  14    I look at the budget, and I see Ms. Yanni, and I know her not

  15    personally, but I know her by reputation, and I see that she's

  16    budgeted to work 175 hours a month.              That's better than forty

  17    hours a day on a work day (sic), all the way through to August,

  18    and I'm wondering, is that really going to happen?

  19                If we have this very complex claims process, with all

  20    of these professionals that are described in the supporting

  21    declaration, I'm just wondering whether Ms. Yanni and Justice

  22    Trotter are actually going to be doing the kind of thing that

  23    the budget, at least, says they're going to be doing.

  24                And again, in the interest of making this simple, I'll

  25    take your -- just summary of what's the plan here, rather than

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   1    ask them to file any declarations or anything.                 If we had a

   2    traditional court hearing, I might ask them just to stand up

   3    and describe something, but I'm not going to do that today.

   4                So tell me why I shouldn't think this is just a risk

   5    to have a very large amount of money be paid out without any

   6    kind of control over what happens.

   7                MS. GREEN:     So Your Honor, two things.           One is that

   8    Justice Trotter has agreed to charge a flat fee, which is what

   9    the line item of 150,000 dollars a month is in his budget.                     Ms.

  10    Yanni's time is based upon estimates that she provided.                   Of

  11    course, it's an estimate, and she won't be paid the amount if

  12    she doesn't work that amount, but I will tell you that I

  13    personally spent almost ten hours this weekend talking to Ms.

  14    Yanni.    I've talked to her at 6 o'clock in the morning

  15    California time and at midnight California time, and so I do

  16    know that she has spent a great number of hours working on this

  17    trying to set up the process.            And so I think that basically

  18    her time down there on the budget is an estimate, and to the

  19    extent that she doesn't work that time, of course she won't be

  20    paid for it.

  21                THE COURT:     My last question is -- I think I know the

  22    answer, but it's purely coincidence, isn't it, that BrownGreer

  23    and Brown Rudnick both start with the word Brown, and it's

  24    not --

  25                MS. GREEN:     Yes, Your Honor.

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   1                THE COURT:     There's no connection between the two; is

   2    that correct?

   3                MS. GREEN:     There is no connection between the two.

   4                THE COURT:     All right.        Thank you, Ms. Green.

   5                MR. SINGLETON:       Your Honor --

   6                THE COURT:     Mr. Karotkin?

   7                MR. SINGLETON:       I'm sorry.

   8                THE COURT:     Who's that speaking?

   9                MR. SINGLETON:       Your Honor, I'm sorry to interrupt.

  10    This is Gerald Singleton.          I just wanted to very briefly echo

  11    the comments of Ms. Green.             Ms. Yanni has worked extremely

  12    hard.

  13                THE COURT:     Okay.       Now, wait a minute, would you?          Mr.

  14    Singleton, what I --

  15                MR. SINGLETON:       Understood.

  16                THE COURT:     -- said before, I want to wait, and I'm

  17    calling on people, and then I'll call on everyone else.

  18                MR. SINGLETON:       I apologize, Your Honor.

  19                THE COURT:     Mr. Karotkin, can you confirm?              Does the

  20    debtor agree to everything that Ms. Green has just summarized

  21    and has committed to this share of the undertaking, or the

  22    financial portions of it, et cetera?

  23                MR. KAROTKIN:      Your Honor, Stephen Karotkin, Weil,

  24    Gotshal, for the debtors.          I can confirm that we have agreed to

  25    the form of both orders with Ms. Green, and I would like to

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   1    make one other statement.          Notwithstanding the fact that the

   2    TCC has not agreed to support the plan, we are still willing to

   3    go forward with this funding.

   4                THE COURT:     Okay.       So that means, then, Mr. Karotkin,

   5    if I sign the order today or tomorrow, literally within two or

   6    three days 2.5 million will go out to BrownGreer, and 2.5

   7    million will go out to Trotter/Yanni, and another 5 million --

   8    I'm sorry.     No.    Ms. Green described the next payment is later.

   9    Originally it would have been within three days.                    Now it's

  10    going to be later in the month.             Is that -- I mean, next month.

  11    Do I have that right?

  12                MS. GREEN:     May 30th, Your Honor.

  13                THE COURT:     Yes.    May 30th.

  14                MR. KAROTKIN:      That's correct, Your Honor.

  15                THE COURT:     Okay.       Right.

  16                MR. KAROTKIN:      Subject to the --

  17                THE COURT:     Okay.

  18                MR. KAROTKIN:      Subject to the conditions in the order.

  19                THE COURT:     Okay.       All right.

  20                Mr. Singleton, you're welcome to make comments, but in

  21    the interest of time, you have to understand, I am flying blind

  22    here until late yesterday afternoon I get this information.

  23    And I'm happy to hear it, and I'm quite satisfied with what

  24    I've heard under the circumstances, and I don't need more

  25    support by others, but you're welcome to express it.                    So I'll

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   1    call on you first, and then I'll ask if anyone else wishes to

   2    be heard.     So Mr. Singleton?

   3                MR. SINGLETON:        Thank you, Your Honor.         I'm sorry for

   4    interrupting.        I can certainly take yes for an answer.               I just

   5    wanted to underscore what Ms. Green was saying.                  Ms. Yanni has

   6    worked extraordinarily hard.             All of us who've been fortunate

   7    enough to be involved in this process and have had the

   8    opportunity to work with her, she's been available all the day

   9    and has been working incredibly hard on this.                  So I just wanted

  10    to underscore that,         Because of the fact that Your Honor

  11    doesn't have the type of information you normally would, I just

  12    wanted to speak up on behalf of a number of us who've had the

  13    opportunity to work very closely with her.

  14                THE COURT:      Okay.       Well, I appreciate that.         And

  15    again, all I want you to appreciate is I simply don't have any

  16    context other than what I'm presented yesterday.                     And I don't

  17    at all question the professionalism or the commitment of any of

  18    the people that I've asked about.              I just don't understand how

  19    it's going to happen.

  20                And I will say further that I am quite pleased to see

  21    that the differences of opinion between the debtor and the TCC

  22    were worked out, and so I'm happy this will be another

  23    milestone to achieve getting towards what everybody is trying

  24    to get to.

  25                There is, as you all know, a high degree of so-called

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   1    transparency and visibility to what's going on here, and when

   2    suddenly twenty million dollars is being earmarked for certain

   3    things, there just has to be some acknowledgement that there's

   4    at least someone in the neutral position, like yours truly, who

   5    understands it.       I do understand it.          I think it's the good

   6    thing to do.     I'm happy to approve it.

   7                Does anyone else wish --

   8                MR. SINGLETON:       Understood, Your Honor.             Thank you.

   9                THE COURT:     -- to be heard on this motion?              Anyone on

  10    the call wish to be heard?             State your name first, and then

  11    I'll get to you.

  12                MR. BRAY:     Your Honor, it's Gregory --

  13                UNIDENTIFIED SPEAKER:          Your Honor.

  14                MR. BRAY:     -- Bray of Milbank LLP.

  15                THE COURT:     Mr. Bray.

  16                MR. BRAY:     Counsel for the committee.

  17                THE COURT:     Good morning, Mr. Bray.

  18                MR. BRAY:     How are you, Your Honor?

  19                THE COURT:     Well, I'm just like the rest of us.

  20                MR. BRAY:     I understood.        We have not seen the

  21    proposed revised order.         Obviously, our interests are fairly

  22    narrow.    The concern would be the amounts or the commitment

  23    being made by the estate prior to confirmation of the plan.

  24    And we certainly don't want to throw an unnecessary monkey

  25    wrench.    We would like to see the order, and we'd understand

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   1    what commitments the estate is making outside of the trust

   2    itself.

   3                THE COURT:     Well, the proposed order was at least

   4    provided to my staff this morning.

   5                And Ms. Green, is there any reason why you can't share

   6    that with Mr. Bray?

   7                MS. GREEN:     I would be happy to.          And the only

   8    commitment the estate's making that is not related to money

   9    being paid to the trust is the 2.5 million for the previous

  10    work of BrownGreer plus the 2.5 million to Cathy Yanni and

  11    Justice Trotter that they agreed to in previous pleadings, and

  12    the rest will be deducted from payments to the trust.

  13                And I apologize.       I should have forwarded it to Mr.

  14    Bray.     I thought I caught everybody.           And I will do that right

  15    now.

  16                THE COURT:     Mr. Bray, I was --

  17                MR. BRAY:     Thank you.

  18                THE COURT:     Mr. Bray, there were two orders that were

  19    uploaded, but they appear to be similar.               I didn't -- I'm just

  20    pulling up on my screen here the Yanni order, and it's nunc pro

  21    tunc to January, and it identifies her team as the

  22    professionals, and it attaches as an exhibit the budget.

  23                And then there's another provision in there that deals

  24    with the BrownGreer order, which I say that seemed to be a

  25    mystery, but it's an explained mystery on this record.

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   1                And then the operative provision for payment seems to

   2    be in paragraph 6, which is largely a restatement of what's in

   3    the supplement that Ms. Green filed yesterday, except for that

   4    deferred payment.

   5                And then the provision that -- what happens if the

   6    plan is not voted up affirmatively by the victims or not

   7    confirmed -- is there.         Oh, you'll have -- I'll tell you why I

   8    don't.

   9                You go ahead and review it today, and if you have any

  10    objections to the form of order, communicate it to Ms. Green.

  11    I will plan on signing the order late today, so if you have any

  12    concerns you can also notify my courtroom deputy, and if I

  13    don't hear from you, it'll be my intention to sign the order

  14    late in the day, so it can be docketed by close of business

  15    today.

  16                MS. GREEN:     It's --

  17                (Indiscernible - simultaneous speech)

  18                MS. GREEN:     -- for Mr. Bray right as we were speaking,

  19    Your Honor.

  20                THE COURT:     Okay.       Mr. Bray, does that work from a

  21    timing point of view?

  22                MR. BRAY:     Yes.     Yes, that's fine, Your Honor.

  23                THE COURT:     All right.

  24                MR. BRAY:     Thank you.

  25                THE COURT:     Anyone else wish to be heard on this

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   1    matter?

   2                MR. MINTZ:     Your Honor, this is Benjamin Mintz from

   3    Arnold & Porter.

   4                THE COURT:     Yes, sir.

   5                MR. MINTZ:     I'm counsel for AT&T.           I'm speaking on

   6    behalf of those parties that filed the reservation of rights.

   7    That includes AT&T, my client, as well as Adventist,

   8    represented by Norton Rose, and certain Paradise municipal

   9    entities that are represented by Reed Smith.

  10                Our concern in filing the reservation of rights was

  11    about potential prejudice.             We didn't want the Court's approval

  12    or the monies that were going to be spent in developing the

  13    trust procedures to be used as the shield to any arguments that

  14    we might later advance, including at confirmation.

  15                As Ms. Green indicated, we resolved our issues for

  16    today insofar as the order reflects agreed-upon no prejudice

  17    language that provided the Court's approval and the parties'

  18    actions will not prejudice our ability to challenge the claims

  19    procedure in trust matters.

  20                But just to be clear, our fundamental substantive

  21    issues have not been resolved.             Our issues relate to the terms

  22    of the fire victim claims resolution procedures, and we're

  23    concerned that they're being designed in a way that will

  24    disadvantage larger claimants like our clients.                  We're focused

  25    on a number of provisions, and we're trying to work to resolve

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   1    these matters consensually without judicial intervention.

   2    We've reached out to the TCC and the debtors with a list of

   3    issues that go to providing that the trust procedures are fair,

   4    that the eligibility criteria are fair and appropriate, that

   5    claims are treated on a pro rata basis, issues of that nature.

   6                We recognize they're not issues for today, but we

   7    wanted to bring them to Your Honor's attention and indicate

   8    that if we're not able to resolve those consensually we will be

   9    bringing those matters to the Court's attention, either at

  10    confirmation or at some appropriate time before then.                   We're

  11    also undertaking a discovery process in connection with those

  12    issues, and again, we hope we can resolve them consensually,

  13    and we're going to work as hard as we can to try to do that.

  14                Thank you, Your Honor.

  15                THE COURT:     Well, thank you, Mr. Mintz.              I had

  16    reviewed reservations that you and Adventist and the others had

  17    filed, and I do appreciate that that's important to state that

  18    and that it's also helpful that we get past it today.                   But it

  19    really triggers something that I want to state to Mr. Karotkin

  20    as well as the rest of the counsel.

  21                Maybe given this incredibly difficult scheduling with

  22    stay-at-homes and no ability for people to meet and confer,

  23    that we pencil in yet another date on the calendar that we look

  24    at dealing with some of these issues that are not directly

  25    confirmation issues but certainly impact trust issues.

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   1                So Mr. Karotkin, you don't have to respond now, but

   2    I'd like you to think about it over the next few days and

   3    figure out whether it might be a good idea to schedule a date,

   4    either on an existing calendar or we can give you a new date,

   5    prior to the confirmation schedule, to have a pre-hearing, if

   6    you will, or something to discuss these issues.                 I find it'd be

   7    very difficult if we have to do all of this by phone, but if we

   8    have to do it all by phone or video, we'll do it.                   But I'll ask

   9    you just to put that on your to-do list to think about

  10    conferring with the principal counsel, like Mr. Mintz and Ms.

  11    Winthrop and others, to talk about an appropriate time to air

  12    out any differences on the kinds of things that Mr. Mintz just

  13    described.

  14                But for now --

  15                MR. KAROTKIN:      Okay.

  16                THE COURT:     -- I will conclude the matter on the

  17    Trotter/Yanni motion and thank Ms. Green for leadings to the

  18    resolution here.       And I'll look forward to getting the order

  19    later today.

  20                MS. GREEN:     Thank you, Your Honor.

  21                THE COURT:     Mr. Karotkin?        You want to go, Mr.

  22    Karotkin, to the Butte fire settlement?

  23                MR. KAROTKIN:      Yes, sir.      Thank you.      Again, for the

  24    record, Stephen Karotkin, Weil, Gotshal & Manges, for the

  25    debtors.

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   1                Your Honor, we've reviewed your tentative ruling and

   2    really don't have much to raise today.               And I don't want to

   3    belabor it, but I feel compelled to make a few remarks, because

   4    in my view the debtors have been subject to inappropriate

   5    criticism for arranging to have the fine satisfied in a manner

   6    that would be completely, and I mean completely, neutral to the

   7    Fire Victim Trust to be created under the plan.                 So if Your

   8    Honor would just indulge me for a few minutes, so you can

   9    become (indiscernible - skip in audio) aware of why the

  10    satisfaction of the fine was structured in the way it was

  11    structured, and Your Honor, that is in a way to assure the

  12    timely and successful conclusion of these cases.

  13                So first, Your Honor, under the terms --

  14                THE COURT:     Okay.       That's fine.    Yes.

  15                MR. KAROTKIN:      Okay.      Under the terms of the --

  16                THE COURT:     Please --

  17                MR. KAROTKIN:      Okay.      Thank you, sir.      Under the terms

  18    of the equity financing agreements that were approved by the

  19    Court and that, as you know, Your Honor, are critical to the

  20    debtors' plan emerging financing, and of course, the funding of

  21    the Fire Victim Trust, the determination right of the debtors'

  22    liability for fire claims under the plan is in excess of 25.5

  23    billion dollars.       And that 25.5 billion dollars is easily

  24    calculated.     It's the one billion for the public entities under

  25    the plan.     It's the eleven billion that is to be deposited in

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   1    the subrogation claimants' trust under the plan.                    And it's the

   2    13.5 billion dollars in approximate value for the Fire Victim

   3    Trust to be deposited under the plan in the form of cash and

   4    stock.

   5                And it's also clear, Your Honor, from the plan and the

   6    tort claimants RSA, and this is despite what the Baker firm has

   7    raised, that the fire claims that are subject to that 25.5-

   8    billion-dollar cap include fines and penalties, and therefore

   9    cover the 4-million-dollar Butte settlement.                And as a result

  10    of that, Your Honor, it's absolutely clear that the debtors

  11    could not directly pay that four-million-dollar fine from their

  12    own assets without presenting a clear termination right under

  13    the equity backstop agreements.             There's no question about

  14    that.

  15                Now, people can try to ignore that language, or try to

  16    interpret it otherwise, or say that the plan can be amended to

  17    avoid this conclusion, but the debtors, Your Honor, who have

  18    fiduciary duties to all stakeholders in these cases, they

  19    cannot do that, and they did not think it was appropriate to

  20    take the risk of a termination of the equity backstop

  21    agreements.     That would not be in the interests of getting this

  22    case concluded.       That would not be in the interest of any

  23    stakeholders.

  24                We have an obligation to keep those equity commitments

  25    in place and to avoid giving any of the backstop parties a

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   1    right to terminate, whether or not others think they will

   2    exercise that right or won't exercise that right.

   3                And that, Your Honor, is precisely what we sought to

   4    accomplish with the way we structured the payment and what we,

   5    in fact, did accomplish.          There was no sinister motive.           There

   6    was no backdoor attempt to get an advisory opinion.                   There was

   7    nothing other, Your Honor, than the debtors being extremely

   8    careful to, as Your Honor says, and I'm going to use your

   9    words, because you know I like to do that.                As Your Honor says,

  10    to keep this train on track.            To keep this train on track, so

  11    that we can confirm on time, and so that distributions can be

  12    made to fire victims, and that can commence as soon as

  13    possible.

  14                And Your Honor, what we came up with, with the help of

  15    Mr. Feldman and his clients, was a way to keep the satisfaction

  16    of the fine completely, and I mean completely, neutral to the

  17    Fire Victim Trust, and in the same fashion, not providing any

  18    of the backstop parties the ability to terminate and

  19    jeopardizing the funding that is critical to the debtors

  20    emerging from Chapter 11 prior to the June 30th AB 1054 date

  21    and to getting funding to the trust as soon as possible.

  22                That is it, Your Honor.          There's nothing more to what

  23    we did.     And if the debtors are to be criticized for developing

  24    and presenting an approach which is in the best interest of all

  25    stakeholders in these cases, and in particular, the Fire Victim

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   1    Trust, and assure that this train keeps moving as smoothly as

   2    possible, then so be it.          Mea culpa for that, Your Honor.

   3                And I'd just like to say in conclusion, all that being

   4    said -- all that being said, Your Honor, if you prefer, and I

   5    think that -- I certainly gleam that from your tentative

   6    ruling -- that the payment of the fine be made directly from

   7    the escrow account held for the benefit of the subrogation

   8    claimants when that interest is earned in that account, post-

   9    effective date, rather than being channeled through the fire

  10    claims trust, as would be required by the plan, Your Honor, we

  11    will be happy to do it as long as no other parties have any

  12    objection, and as long as Your Honor approves the payment to be

  13    made in that fashion.         We have absolutely no objection to doing

  14    that.    And that's really all I have --

  15                THE COURT:     Well, since you're --

  16                MR. KAROTKIN:      -- plaintiff --

  17                THE COURT:     Since you're complimenting me by quoting

  18    me about my metaphors, I might have a couple for you today, but

  19    I have a couple of questions first.              Here's my question.          And I

  20    must say, I went back and reread the papers in anticipation of

  21    today's hearing, and it was a little unclear, and I, of course,

  22    I'm aware, as you're aware, of the public -- I think the

  23    company made a public statement, and there was a little bit of

  24    publicity about how the payment was going to be made.                   But I'm

  25    a little unclear on the timing.             So if I sign -- leave aside

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   1    what the order will -- how it works, but let's go to the

   2    concept of it.

   3                If I approve this motion today, when does Butte County

   4    get its 4 million or 3.5 million?             The difference between 3.5

   5    and 4 is not important here.

   6                MR. KAROTKIN:      Right.

   7                THE COURT:     When do they get it, right?              Soon?

   8                MR. KAROTKIN:      No.     They would get it, let's say,

   9    roughly approximately fifteen days after the effective date of

  10    the plan.     The way it would work, Your Honor, is that under the

  11    plan the eleven billion dollar -- there's an eleven-billion

  12    distribution to the subrogation claimants' trust.

  13                THE COURT:     Okay.

  14                MR. KAROTKIN:      Under our proposal, 10.9 billion

  15    dollars of that 11 billion, on the effective date, would be put

  16    into an escrow account for the benefit of the trust.                   That 10.9

  17    billion dollars would earn interest in the escrow account.                    We

  18    anticipate it would take approximately fifteen days or so for

  19    the approximately four-million-dollar amount to be -- for

  20    approximately four million dollars to be earned in that account

  21    for the benefit of satisfying the Butte County claim.                   And the

  22    other hundred million to be distributed to the subrogation

  23    trust would go immediately to the subrogation trust on the

  24    effective date.

  25                So there would be a period of time in which 10.9

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   1    billion would sit in an escrow account, earn interest.                   When

   2    that interest reached about four million dollars, the amount of

   3    the fine, what we had proposed was that amount of money would

   4    be then transferred to the Fire Victim Trust, and the Butte

   5    County claim would be treated as other fire victim claims under

   6    that.    But if you would like us to have that interest paid

   7    directly to Butte County after that fifteen-day period, we're

   8    happy to do that, as long as you order us to do that.

   9                THE COURT:     Well, the Butte County deal, which was

  10    summarized in your original motion, and maybe there was a

  11    backup detail.       Again, I can't keep track of everything.                 The

  12    district attorney or the county treasurer, somebody is

  13    expecting to get a 3.5 or 4-million-dollar payment around that

  14    time.    I don't imagine that that public official cares where it

  15    came from, as long as it's good funds.               And if he got it from

  16    Mr. Feldman's trust account or the trust that's been set up for

  17    the subrogation trust, it has a certain degree of simplicity to

  18    it that, in my mind, it has the same economic effect, but it

  19    doesn't have, sort of, the appearance of payment by the Fire

  20    Victim Trust.

  21                So let me ask if Mr. Julian is going to speak to this

  22    issue, or others.       Just focusing on that issue, you're on the

  23    call, aren't you, Mr. Julian?

  24                MR. JULIAN:      Yes, I am, Your Honor.          I'm happy to

  25    speak.

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   1                THE COURT:     And without getting into the rhetoric or

   2    the motions that are expressed here, are you satisfied if we

   3    just do it the way Mr. Karotkin and I just described?                    Does it

   4    make a difference to you?

   5                MR. JULIAN:      If it's paid directly from the subro --

   6    yes, Your Honor.       Robert Julian of Baker & Hostetler for the

   7    TCC, responding to your questions.              If the four million dollars

   8    or so is paid from the subro trust or PG&E, as you order,

   9    approving this settlement, to Butte County, the TCC is fine

  10    with that.

  11                I do have one clarification for you, if you have time.

  12                THE COURT:     Yes.    I just want to make one question,

  13    and then I'll certainly listen to your clarification.                    Again, I

  14    can't keep track of all the details, but when the victims trust

  15    is in place, 13.5 billion or some amount like that amount goes

  16    to the trustee, and then they are off and running on all the

  17    things that we talked about this morning and otherwise.

  18                And what you don't want, and frankly, I don't want, I

  19    don't want Justice Trotter or anybody else to be writing a

  20    check from their money they are holding to pay PG&E's fire

  21    liability to Butte County.             I mean, criminal liability.

  22                So it seemed to me, if I approve what Mr. Karotkin is

  23    suggesting, and he doesn't have any serious objection from

  24    anybody, and the TCC's satisfied with it, we've solved the

  25    problem.

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   1                But go ahead.      You wanted to make a point of

   2    clarification.

   3                MR. JULIAN:      Yes.      We have solved the problem, Your

   4    Honor.    And just so the record's clear, just as Mr. Karotkin

   5    explained their position, I want to explain to you why the TCC

   6    and its professionals have always believed that things like

   7    your March settlement of the first Butte criminal settlement

   8    fine does not come out of the fire trust, and so this one did

   9    not either.     And I think it's important for Your Honor to

  10    remember this, because recently you said I had forgotten about

  11    the settlement.

  12                So in March -- there are two settlements from this

  13    Butte County District Attorney, one for --

  14                THE COURT:     Yes.

  15                MR. JULIAN:      -- 1.5 million dollars for the 2017 fires

  16    in the Butte County, and this recent one for 4 million dollars

  17    for the 2018 Camp Fire.         Your Honor approved the first Butte

  18    County 1.5-million-dollar settlement in docket number 1092.

  19    The settlement agreement for that Butte settlement was docket

  20    770.

  21                And Your Honor, what's interesting about this, and it

  22    proves our point of why we've been right about this criminal

  23    penalty, both the 1.5 million settlement that you approved

  24    previously and this 4 million that you're about to approve now

  25    involve Penal Code 452, recklessly starting a fire.                   And PG&E

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   1    did not include Penal Code fines in the definition of fire

   2    claim.     And they did it when Judge Alsup criticized them for

   3    not disclosing the first Butte settlement investigation.

   4                And Your Honor knows, we're all careful lawyers here.

   5    I know the Weil, Gotshal folks.              They wouldn't have hidden this

   6    from us.     Judge Alsup found that PG&E had violated its

   7    probation by not disclosing the Penal Code 452 investigation

   8    that resulted in the first 1.5-million-dollar settlement.

   9                In the face of that lack of disclosure, PG&E's lawyers

  10    drafted the fire claim definition to include references to only

  11    three codes:     the Civil Code, the Code of Civil Procedure, and

  12    the Public Utilities Code.             They did not mention the Penal Code

  13    at all.

  14                THE COURT:     Where is that --

  15                MR. JULIAN:      And that's why we --

  16                THE COURT:     -- in the plan with -- Mr. Julian, where

  17    is that in the plan?

  18                UNIDENTIFIED SPEAKER:          Your Honor, may I --

  19                THE COURT:     Okay.       Gentlemen, let's -- let's not --

  20    I'm trying to avoid this.

  21                MR. JULIAN:      And so anyway, Your Honor --

  22                THE COURT:     Trying to put the fire out, this fire out.

  23                Go ahead, Mr. Julian.

  24                MR. JULIAN:      Yes.      I mean, the bottom line is when we

  25    were in front of Judge Newsome settling this thing, and we saw

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   1    the word "penalties and fines", it all looked civil to us.                    And

   2    I know they feel passionately today on this, but we can't let

   3    the record, after that speech, go uncorrected that just as you

   4    ordered them in your March order to pay that fine, which is not

   5    yet paid fully under that settlement, right?                They have paid

   6    some of it.     But it goes on for four years, unless they paid it

   7    in advance, which I don't know.

   8                The point is, they didn't put that in there.                And so

   9    our view is -- I'll just wrap it up -- our view is that the

  10    fire claims are civil claims.            And I know we're not getting

  11    into it today, but I just had to correct the record.

  12                THE COURT:     Okay.

  13                MR. JULIAN:      They've got their view.          We've got our

  14    view.    And I applaud Your Honor for coming up with a pragmatic

  15    solution that avoids this --

  16                THE COURT:     Well, I just, I have to say that I've

  17    watched Mr. Karotkin in action for almost a year-and-a-half,

  18    and sometimes I know his emotions take over, but generally it's

  19    very rationale and very lawyer-like.              But I counted the adverbs

  20    and the words, and I wanted to make a list of them for my

  21    thesaurus.     I got rhetorical foolishness, typically irrelevant,

  22    hyperbole, continuing utter disregard.               And I'm trying to avoid

  23    all that.

  24                So I don't have a favorite here.             I just wanted to get

  25    the job done.

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   1                Mr. Karotkin, I'm going to authorize --

   2                MR. FELDMAN:      Your Honor.

   3                THE COURT:     -- or direct --

   4                MR. FELDMAN:      Your Honor.        Your Honor.

   5                THE COURT:     Yes, sir?

   6                MR. FELDMAN:      I apologize.       It's Matthew Feldman on

   7    behalf of the subrogation group.             Could I be heard briefly?

   8                THE COURT:     Yes, sir.       I was thinking --

   9                MR. FELDMAN:      Your Honor, we --

  10                THE COURT:     -- about you, Mr. Feldman.

  11                MR. FELDMAN:      Yes.      We have no issues with the

  12    solution that Mr. Karotkin proposed to the Court, and we've

  13    tried very hard to be supportive of finding a way to keep the

  14    train on the track.        But I do want to make one comment.

  15                Mr. Julian has repeatedly filed papers that challenge

  16    the definition in the plan and seem to suggest other claims

  17    might be part of the subrogation trust.               While we've agreed to

  18    make the payment here, I don't want this to be used in any

  19    future pleading or proceeding before this Court to suggest that

  20    other similar claims belong in our trust, as opposed to being

  21    paid by the company.        I'm not suggesting whether they belong in

  22    the victim trust or the municipal trust or anyplace else, but

  23    this should not open a door, Your Honor, and I want to be

  24    crystal clear about that.

  25                THE COURT:     Okay.       Well, again, I've complimented all

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   1    the lawyers in this case for being masters of reservations of

   2    rights, and I want everyone to reserve their rights.                   My right

   3    here is to not tell the fire victims you're going to pay four

   4    million dollars to the company that has confessed guilt under

   5    the criminal laws.

   6                And Mr. Feldman, your clients, and Mr. Karotkin, your

   7    clients, have agreed to, I think, a very satisfactory

   8    resolution.     I don't have to make any fine legal distinctions

   9    about definitions of terms.

  10                And I will approve the debtors' motion, with the

  11    provision being that the money to be paid to Butte County under

  12    the terms of the Butte settlement, when that's supposed to

  13    happen, will go from the subrogation trust's accrued interest

  14    and be paid directly, or through some intermediate steps, if

  15    necessary, but not through the Fire Victim Trust.                   If it has to

  16    go through Weil, Gotshal or a trust account or some other

  17    intermediate step from a lawyer to a lawyer, that's nobody's

  18    business.     But the source of the money will be accrued interest

  19    from the subrogation trust, and the recipient of that money

  20    will be Butte County under the Criminal Procedures, and that's

  21    the end of it.       And I'm happy to see that it's going to get

  22    resolved.

  23                And Mr. Karotkin, I appreciate your expression as to

  24    why you think it was a good result.              I'm not saying it's not a

  25    good result.     I think it's a satisfactory solution today, and

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   1    I'm going to put this baby to bed.             And thank you all,

   2    unless --

   3                MR. ABRAMS:      Your Honor.

   4                THE COURT:     -- anyone else wishes to be heard.

   5                Yes, sir?

   6                MR. ABRAMS:      Your Honor --

   7                THE COURT:     Yes, Mr. --

   8                MR. ABRAMS:      This is Will Abrams.         I filed a joinder

   9    to the TCC objection and just wanted to raise a couple of

  10    points.

  11                THE COURT:     Well, I've already disposed of yours in my

  12    tentative ruling, so I don't know what's the point.                   I'm not

  13    going to change my opinion.            I'll let you make a brief

  14    statement, if you want.

  15                MR. ABRAMS:      Thank you, Your Honor.          Just very

  16    briefly.     I'm just very concerned, especially given the subro's

  17    comment associated with this that we're going to see similar

  18    debates about whether it should or should not come out of the

  19    victims trust with future fines and penalties.                 PG&E has

  20    already shown a predisposition to these types of actions that

  21    lead to criminal penalties, and I would be very concerned going

  22    into this that future fines and penalties should be brought out

  23    of that, so I would expect that there would be some

  24    clarification that that wouldn't occur.

  25                The second point, and just very quickly, is that I

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   1    largely think that the reason why there was so much upset over

   2    this victims is because the notion that we are having a

   3    discussion about these -- and I'm sorry if it's uncord (sic) to

   4    mention it, these manslaughter charges, and that we're having a

   5    discussion about which pot of money that the fine comes from,

   6    as opposed to a reorganization of a company so that these

   7    actions don't happen again.            And that's --

   8                THE COURT:     Okay.       Mr. Abrams.    Mr. Abrams, I'm going

   9    to stop you now.       I've got your point.          I made my point in my

  10    tentative ruling.       The debtor accepted it.           We are not dealing

  11    with any other fines and penalties today.               I am approving the

  12    debtors' settlement of the Butte County -- actual settlement

  13    that's in the record, consistent with what's been said today.

  14                I want to make sure you understand.              I've said this

  15    too many times.       I respect you from your point of view.              I

  16    absolutely encourage you to express yourself.                 But here, it's

  17    just not a today matter.          So I'm going to close the subject and

  18    leave it at that.

  19                If there is another future fine or penalty that comes

  20    before this Court, I will listen to you or anyone else that

  21    wants to be heard.        Today there is no such one.           And I'll leave

  22    it at that.

  23                So I'm going to conclude the matter on the fire

  24    settlement.

  25                Mr. Karotkin, I will assume that the parties that you

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   1    are dealing with, whether it be the backstop group or the

   2    shareholder group, everyone else, I know you well enough to

   3    know you would have been in touch with them before agreeing to

   4    what you ask me to approve, so I'll assume that you'll submit

   5    an order that Mr. Julian can sign off on, and be glad to put

   6    this behind all of us.

   7                MR. KAROTKIN:      Okay.      We'll circulate an order.

   8                THE COURT:     By my calculation -- thank you.             By my

   9    calculation, all we have left today on today's schedule is what

  10    we call the standing motion.

  11                Am I correct, Mr. Karotkin?             Is there anything else

  12    that you think we need to attend to this morning?

  13                MR. KAROTKIN:      No, I think that's it, sir.

  14                THE COURT:     Okay.       Thank you.     So on that one, let's

  15    see.     I believe we have Mr. Behlmann.            Are you made the

  16    appearance or Mr. Etkin?

  17                MR. BEHLMANN:      Mr. Etkin is, Your Honor.

  18                THE COURT:     And Mr. Julian, are you, or Mr. Rad?

  19    Who's --

  20                MR. RICHARDSON:       Good morning, Your Honor.           It's David

  21    Richardson of Baker & Hostetler for --

  22                THE COURT:     Oh, I'm sorry.        Yes.    Yes.

  23                Mr. Richardson.       I had just too many people to keep

  24    track of.     I did anticipate it would be you and not Mr. Julian,

  25    because you were on the briefs.

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   1                Okay.    Well, you've got my thoughts about things.                  Do

   2    you want to proceed, Mr. Richardson?

   3                MR. RICHARDSON:       Thank you, Your Honor.             I want to

   4    start just by restating that what we're here to decide or ask

   5    the Court to decide today is a motion for standing, not any of

   6    the substantive issues that we hope to raise down the road in a

   7    motion for summary judgment or preliminary injunction, but

   8    simply whether an official committee should be given standing

   9    to pursue the debtors' rights for declaratory relief that

  10    certain claims are property of the estate.

  11                Now, I want to address all of the Court's issues, even

  12    though, unfortunately, some of those are not fully briefed

  13    before the Court, because the debtor raised them in a brief

  14    filed on Friday afternoon.             If what I say this morning does not

  15    convince the Court that the debtors' concerns are misplaced, I

  16    would ask for the opportunity to brief the Court on the twelve

  17    Madoff cases that deal with the procedures that apply, the

  18    standards that apply, why it is not an overlap with motions to

  19    dismiss pending in other courts, so that the Court can make a

  20    ruling based upon the case law that applies and not just an

  21    unsupported concern addressed on Friday.

  22                THE COURT:     You --

  23                MR. RICHARDSON:       But the relief --

  24                THE COURT:     But you've got to convince me to make a

  25    ruling based upon the points that I raised in my tentative.

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   1                MR. RICHARDSON:       I understand, Your Honor.            Now, to

   2    address the Court's first concern.             The relief that we want in

   3    our motion is the relief in the motion.               There's not a pivot.

   4    We're not asking for something different from our motion.                      If a

   5    future MSJ goes beyond the standard of how a court should

   6    address the direct versus derivative issue, those issues

   7    shouldn't be addressed.

   8                The scope that a direct/derivative covers and why it

   9    does not conflict with the motion to dismiss, can most clearly

  10    be demonstrated by focusing on a single allegation to start

  11    with, being the securities complaint.              In paragraph 233, the

  12    securities plaintiffs describe a May 23rd, 2016 press release,

  13    where the debtors announce an increase in dividends and quote a

  14    Mr. Earley, an officer of the corporation, stating, "we've

  15    continued to demonstrate leadership and commitment on safety."

  16    That rather bland statement, in bold and put in italics, and

  17    treated as a misrepresentation that caused a select group of

  18    shareholders to believe that their dividends would never be

  19    threatened by a wildfire.          That's what the complaint alleges.

  20                That same allegation appears in the second complaint.

  21    In our motion for standing, we describe the derivative actions

  22    that are pending in the state in various courts.                    And one of

  23    those one described as Williams v. Earley, and we mention that

  24    it also pleads the Securities and Exchange Act of 1934 claim

  25    for misrepresentations.         But that claim is pleaded as a

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   1    derivative claim, even though it's based on many of the same

   2    press releases and other statements that are also pleaded in

   3    the securities complaint.

   4                And in paragraph 227 of that Williams complaint, it

   5    alleges that the same May 23rd, 2016 press release was false,

   6    and it bolds and italicizes the exact same statement of Mr.

   7    Earley that I quoted earlier.            The only difference between

   8    those allegations in those two complaints is that one of them

   9    is alleged to be a derivative claim, because that press release

  10    that was sent out to the entire world deceived all shareholders

  11    in the same way, whereas the security plaintiffs claim that

  12    they got -- the press release states a direct claim, because

  13    that press release only deceived a very select group of

  14    investors.

  15                Both of those allegations can't be true.                As we

  16    briefed in our motion, the direct/derivative analysis looks to

  17    whether or not the putative class of shareholders that claim a

  18    direct claim can show particularized harm, or if it was harm

  19    experienced by all shareholders.             If that bland statement --

  20    we've continued to demonstrate leadership and commitment on

  21    safety -- is actionable for a federal securities claim, which

  22    we acknowledge is before the district court, it's only

  23    actionable by all shareholders as a derivative claim.                   That's

  24    an analysis that applies to the entire complaint, and I think

  25    by focusing on that single allegation it demonstrates the type

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   1    of argument that we want to present to the Court.

   2                A motion to dismiss does not overlap with that

   3    argument.     The director and officer defendants have not waived

   4    the direct/derivative issue in their motion to dismiss, and

   5    it's perfectly understandable that they did not.                    It's an

   6    argument of last resort in a direct shareholder claim.

   7                They have a lot of arguments to raise, and they have,

   8    but to raise the direct/derivative argument at this time in a

   9    motion to dismiss would be asking the district court to find

  10    that the scope of damages is not to a small group of

  11    shareholders, but it reaches everybody, every shareholder, and

  12    it's much larger than is already alleged.               It's not in their

  13    interest to ask that the Court find that it's a derivative

  14    claim.

  15                If six months from now there's another motion to

  16    dismiss, and the directors and officers argue that the claim is

  17    derivative, I would absolutely understand if it's raised at

  18    that time, but anything still happening in the proceeding that

  19    we wish to begin be stayed until that motion to dismiss is

  20    resolved.     But at this time --

  21                THE COURT:     Wait, say that again, you're --

  22                MR. RICHARDSON:       -- we don't believe that issue --

  23                THE COURT:     Wait.       Repeat that please.

  24                MR. RICHARDSON:        If six months from now there's a

  25    second motion to dismiss, and the defendants and the directors,

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   1    and officer defendants then do argue the derivative argument

   2    that we're raising here, and we're still before the Court in

   3    the adversary proceeding we want to file, then I would

   4    understand that the issue of overlap is something the Court has

   5    to address.

   6                But right now, that issue isn't in front of the

   7    district court, and it's unlikely to ever come before the

   8    district court.       We --

   9                THE COURT:     Well, wait.       I'm missing something.           Was I

  10    incorrect, and has the derivative/direct issue been addressed

  11    in the motion that's pending?

  12                MR. RICHARDSON:       No, it has not.        They've chosen not

  13    to raise it.

  14                THE COURT:     So therefore, if the judge denied the

  15    motion to dismiss, presumably he would have determined that

  16    there are direct claims that survive, right?

  17                MR. RICHARDSON:       No, Your Honor, he's not -- the judge

  18    is not --

  19                THE COURT:     Well, how --

  20                MR. RICHARDSON:       -- going to have to determine the

  21    direct versus derivative issue.             The complaint --

  22                THE COURT:     I understand that.

  23                MR. RICHARDSON:       -- can show that's there's --

  24                THE COURT:     Wait, I understand that.           He hasn't been

  25    asked to decide it, but have the defendants said this is

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   1    derivative action.

   2                MR. RICHARDSON:        No, they have not raised the issue.

   3                THE COURT:     Well, if they haven't raised it, and he

   4    says that the motion to dismiss is denied, doesn't that

   5    implicitly say he has determined that it's a direct claim?

   6                MR. RICHARDSON:        No, I don't --

   7                THE COURT:     What's wrong with that thinking?

   8                MR. RICHARDSON:       -- believe that that is the case law.

   9                THE COURT:     What am I missing?         What am I missing on

  10    that point?

  11                MR. RICHARDSON:        If the allegations in the complaint

  12    saying that there is harm to a select group of creditors has

  13    not been put before the Court as an improper allegation, the

  14    Court is not making a ruling.            The Court is not being asked to

  15    determine if it's correct or not.              The Court accepts it as true

  16    for purposes of the motion to dismiss.

  17                The direct v. derivative analysis that a bankruptcy

  18    court looks at is not bound by the motion to dismiss standard

  19    of accepting all allegations as true.              It can receive evidence.

  20    It can examine whether the allegations are conflicted within

  21    the complaint.       They can -- it looks at a much broader analysis

  22    than a motion to dismiss, and I'm not dismissing --

  23                THE COURT:     I guess I'm missing something.

  24                MR. RICHARDSON:        Your Honor --

  25                THE COURT:     Wait.       Wait.   I guess I am -- if I let the

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   1    committee file this, and if I say the committee can prosecute

   2    this complaint now --

   3                MR. RICHARDSON:       Yes.

   4                THE COURT:     -- you're telling me there would not

   5    likely be a motion to dismiss?

   6                MR. RICHARDSON:       No, Your Honor.        I'm telling -- I'm

   7    saying that the motion to dismiss that is pending in the

   8    district court doesn't prevent this court from hearing the

   9    direct v. derivative issue, and I'm not arguing that in a

  10    vacuum.    The Madoff cases that have addressed -- that addressed

  11    this issue, and have been affirmed up to the Second Circuit on

  12    a case that we would've been citing in our substantive brief

  13    down the road, and if the Court is concerned about that

  14    issue --

  15                THE COURT:     I think I've got so many briefs on this

  16    case -- I got more briefs than I can count on this motion so

  17    far, and you still haven't told me why it would be inconsistent

  18    for me to act now while I'm waiting for Judge Davila to answer.

  19                But let's switch gears because I'm not going to spend

  20    all morning on this.        Why should I go forward with this anyway

  21    in this action?       What do you want this adversary proceeding

  22    that could be granted, and you could get?               What's the best you

  23    could come out with in this adversary proceeding if you

  24    prosecute it?

  25                MR. RICHARDSON:       We want an injunction against the

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   1    shareholders from proceeding with this action until the Fire

   2    Victims Trust is up and running, or that the Court

   3    determines --

   4                 THE COURT:     The shareholders aren't threatening an

   5    action.      Mr. Richardson, the shareholders aren't doing

   6    anything.      Why do I need to enjoin them from doing something

   7    they're not doing?

   8                 MR. RICHARDSON:       Your Honor, the shareholders are

   9    dealing with --

  10                 THE COURT:     Did you forget that there are a number of

  11    other people that are going to be filing proofs of claim, we

  12    assume?      Are you going to bring them in as defendants, too?

  13                 MR. RICHARDSON:       No, Your Honor, I don't think we need

  14    to.      Should we prevail, the ruling would be the basis by which

  15    the debtors can do an omnibus claim objection down the road,

  16    but that would be their consent to a --

  17                 THE COURT:     And that would be binding -- if you

  18    prevail in this adversary proceeding against five or six named

  19    defendants, that's going to be binding on 5 or 6, or 5 or 600,

  20    or 5- or 6,000 --

  21                 MR. RICHARDSON:       No.

  22                 THE COURT:     -- claimants?

  23                 MR. RICHARDSON:       No, Your Honor.        I'm not saying

  24    that --

  25                 THE COURT:     Then why is this --

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   1                MR. RICHARDSON:       I think it would --

   2                THE COURT:     -- efficient?

   3                MR. RICHARDSON:       -- it would be the same argument.

   4                THE COURT:     Wait a minute, Mr. Richardson.

   5                Why is it efficient to waste the time to deal with

   6    motions in an adversary proceeding that will be rendered moot

   7    by the prosecution of claims that are filed, and perhaps

   8    objections that are filed to those very same proofs of claim?

   9                MR. RICHARDSON:       Your Honor, it's relevant because

  10    most of what the TCC is doing right now is to protect the value

  11    of the assets that we negotiated for the Fire Victims Trust

  12    under the RSA.       One of those assets is the D&O claims subject

  13    to the D&O insurance that covers them.

  14                Our concern is that we'll get to a point perhaps

  15    before plan confirmation where we discover that those claims

  16    have no value because shareholders who have filed proofs of

  17    claim in this case will receive part of their recovery from

  18    this case, would also be receiving a recovery under those

  19    insurance policies, and thereby leave part of the consideration

  20    that the TCC has negotiated, valueless by the time we get to

  21    plan confirmation.

  22                The cases yet to be --

  23                THE COURT:     So what if a shareholder who gets paid a

  24    settlement by a director's insurance company, what do you think

  25    the bankruptcy court can do about that?

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   1                MR. RICHARDSON:       The bankruptcy court can enjoin it

   2    from happening in the interim.            And the case law for all of

   3    that was provided to the Court in the surreply that the

   4    securities plaintiffs filed.            That brief lays out how there are

   5    two lines of authority, the Bolds (phonetic) and Reliance

   6    authority, and the Fisher/Megliola authority (phonetic),

   7    they're not competing in terms of what the law is, they apply

   8    to distinct fact scenarios.            And the Bolds opinion in

   9    particular, lays out the two lines of authority in great

  10    detail.    It harmonizes the decisions that are within the

  11    Fisher/Megliola line, and the difference comes down to whether

  12    or not the shareholders have found proofs of claim against an

  13    ongoing bankruptcy estate because if they have, under the

  14    Fisher/Megliola line, the courts find that an injunction was

  15    appropriate to determine what sort of a distribution they will

  16    be receiving from the estate before allowing them to continue

  17    against litigation that will affect recoveries of creditors.

  18                In the Bolds and Reliance cases, they were post-

  19    confirmation liquidating trusts that were trying to enjoin the

  20    litigation and the courts found each time that those

  21    shareholders had not filed the claims against the estate.

  22                What we'll be asking the Court to do in a motion for a

  23    preliminary injunction is to follow the Fisher line, and put a

  24    preliminary injunction in place until the fire trust is up and

  25    running because the distribution that shareholders are able to

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   1    obtain under the plan will affect what additional recovery they

   2    would still have against the insurance policies.

   3                THE COURT:     Okay.       Do you want to reserve or do you

   4    want to go forward, Mr. Richardson?

   5                MR. RICHARDSON:        I would like to reserve the remainder

   6    of my time to deal with --

   7                THE COURT:     Okay.       I've got about -- you're about

   8    halfway through.

   9                All right.     Mr. Etkin, are you going to take the lead

  10    here?    Mr. Etkin?     Hello?

  11                Operator, can you hear me?

  12                THE OPERATOR:      Your Honor, I can hear you.            Mr. Etkin

  13    is no longer on the line.          My apologies.       My mute button was

  14    on.

  15                THE COURT:     Oh, how about Mr. Behlmann?

  16                THE OPERATOR:      Mr. Behlmann is --

  17                MR. DUBBIN:      Your Honor?      Your Honor?

  18                THE COURT:     Yes.

  19                MR. DUBBIN:      For the record --

  20                THE COURT:     Yeah.

  21                MR. DUBBIN:      -- this is Jeffry Dubbin of the Labaton

  22    firm for New Mexico, PERA and the class.               I can speak if there

  23    is nobody else on with Your Honor's permission.

  24                THE COURT:     Yeah, but what happened?           I thought

  25    Michael Etkin was going to participate?

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   1                MR. DUBBIN:      He was, and I was going to participate to

   2    talk about the derivative versus direct case law or answer any

   3    additional questions that Your Honor may have.

   4                Briefly, as Your Honor pointed out, the claims here

   5    and the claims before Judge Davila are based on the exact same

   6    facts, and Your Honor is absolutely right that granting the

   7    TCC's motion invites inconsistent judgment.

   8                THE COURT:     Okay.       You have --

   9                MR. DUBBIN:      Uh --

  10                THE COURT:     You have thirty minutes if you want, but

  11    you don't have to use it.

  12                MR. DUBBIN:      Well, I will just say one more thing,

  13    that could give Mr. Etkin time to rejoin the call if he's able

  14    to, would just point out that notwithstanding anything in the

  15    colloquy so far, VTCC cites no case law holding that claims

  16    pled under Rule 10(b)(5) are derivative claims, are the claims

  17    at issue that PERA asserts here and in the district court in

  18    front of Judge Davila, and that leaves the TCC with no

  19    colorable basis for the adversary proceeding.

  20                THE COURT:     Okay.

  21                MR. ETKIN:     Your Honor, it's Michael Etkin.             I

  22    apologize.     I was dropped from the call, and I just was able to

  23    dial back in.

  24                THE COURT:     I thought you probably would be back.

  25    Okay, Mr. Etkin.       Your colleague was pinch hitting for you but

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   1    go ahead, and make whatever argument you wish.

   2                MR. ETKIN:     Okay.       Thank you, Your Honor.        I'm

   3    actually going to try to answer some of the questions, and

   4    address some of the issues that you laid out in what you filed

   5    yesterday.     I'm going to refer to it as your issues list, Your

   6    Honor.

   7                THE COURT:     All right.

   8                MR. ETKIN:     But first I'd like to address the initial

   9    point we raised in our opposition, which is also a point the

  10    Court makes in its issue list.

  11                In fact, the premature nature of this motion is a

  12    point the Court also made in its tentative ruling on the TCC's

  13    discovery procedures motion, and a point made by both the

  14    debtors' and the creditors' committee in correspondence

  15    recently filed with the Court concerning a dispute over the

  16    2004 applications that the TCC has filed.

  17                I am at somewhat of a loss as to why the creditors'

  18    committee and the debtors' positions are inconsistent with the

  19    positions that they took in that correspondence to Your Honor,

  20    but can't always find an explanation for everything.

  21                THE COURT:     Well, what is inconsistent about it?               What

  22    do you think is inconsistent --

  23                MR. ETKIN:     Well --

  24                THE COURT:     -- in the 2004, or directed at third

  25    parties like contractors in contract with PG&E.                 That's not the

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   1    same as what we have here.

   2                MR. ETKIN:     Well, here's the similarity, Your Honor.

   3    For example, in Mr. Tsekerides' letter to the Court of April

   4    1st, he described the debtors' position that the debtors'

   5    estates and other economic stakeholders in the Chapter 11 cases

   6    should not bear the costs associated with, in that situation

   7    vendor subpoenas, in this situation, derivative standing to

   8    file an adversary proceeding in advance of the effective date

   9    of a plan where the TCC will or will not get an assignment of

  10    claims that will eliminate the need for derivative standing.

  11                And Mr. Tsekerides went onto say that the discovery

  12    that the TCC seeks should proceed to the extent necessary or

  13    appropriate, after the plan effective date, and they actually

  14    noted the indication from the Court in connection with that

  15    motion, that the discovery was premature, and presented

  16    questionable cost shifting from the trust to the debtors, and

  17    the Court noted that these assigned claims which could be the

  18    vendor claims, could be the derivative claims that are the

  19    subject of the RSA, that those assigned claims depend upon

  20    whether the plan becomes effective or not.

  21                So I see no distinction, Your Honor, with respect to

  22    the circumstances here where we're less than two months away

  23    from plan confirmation, and the TCC, hypothetically at best, is

  24    claiming that these -- that claims can be settled out from

  25    under them, which is not the case, and that's something that

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   1    the Court addressed in its issues list yesterday.

   2                There's really no reason to move forward with this

   3    right now, where the TCC's interest in these claims, whether

   4    against the vendor, or whether in connection with the

   5    derivative claims is contingent on the plan getting confirmed,

   6    and the effective date occurring.

   7                Actually, the creditors' committee took the same

   8    position in Mr. Stone's letter to the Court of April 1st, and

   9    again with respect to the Court's docket entry, they quoted the

  10    prematurity of the process before the effective date of a plan,

  11    and the questionable cost shifting from the trust to the

  12    debtors appears fatal to the proposal.

  13                So all I'm suggesting, Your Honor, by referencing that

  14    correspondence is that it really blends into, and buttresses

  15    the fact that as we argued, we believe that the motion for

  16    derivative standing is premature, and would indeed be totally

  17    unnecessary in the event that the plan is confirmed, the

  18    effective date occurs, and then there will be a Fire Victims

  19    Trust trustee in a position to evaluate what to do if anything

  20    with respect to what we've indicated, and argued is a meritless

  21    argument by the TCC regarding the direct versus derivative

  22    dichotomy.

  23                THE COURT:     But if there's a confirmed plan, and there

  24    are hundreds, if not thousands of proofs of claim filed by

  25    defrauded investors, then somebody has to deal with them,

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   1    right, and those have to be dealt with at some point.                   If we

   2    could have a confirmed solvent plan, then those claimants will

   3    either be allowed or not allowed to have a share under 510(b)

   4    claims.    That to me is much different from whether there's a

   5    right to go after third parties for money owed to the estate.

   6    In other words, I guess what I am having trouble in my mind is

   7    your argument seems to be that I should deny the TCC's motion

   8    for the same reason that I should deny the 2004, and the fact

   9    is that the TCC wants to avoid your client from interfering

  10    with their assertion of claims that they may have that are

  11    derivative.     That's much different from whether you have claims

  12    against third parties, at least in my mind, for damage done to

  13    the debtor.

  14                So am I missing something, or will you concede these

  15    are different analyses?

  16                MR. ETKIN:     Well, I think they're different analyses

  17    only to the extent of the venue where the claims are pending,

  18    and how the claims would necessarily get resolved.

  19                I totally agree with Your Honor's observations in the

  20    issues list, but because we don't have an order granting our

  21    prior motion to apply 7023 to the claims against the debtor, we

  22    now have a situation where individual proofs of claim are being

  23    filed, and by my count thus far, there's clearly in excess of

  24    1,000 claims that have been filed already, some of which may be

  25    claims on behalf of multiple investors.               I just don't know the

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   1    answer but it appears, from the information that I've seen,

   2    that certainly over 1,000 claims have been filed, and those

   3    claims need to be resolved individually, collectively.                   That's

   4    an issue for another day.

   5                But Your Honor is 100 percent correct, and it really

   6    stems from the anomalous position that the TCC is taking with

   7    respect to this motion.         They're saying that on the one hand,

   8    the claims against the directors and officers pending before

   9    Judge Davila, they'd like to shut those down, despite the fact

  10    that the debtor tried to do that once before, and that effort

  11    was rejected by Your Honor.

  12                They're also arguing at the same time that the claims

  13    that are the result of a court ordered extended claims process

  14    based upon rescission or damages claims, as they've been

  15    defined, and if Your Honor recalls that was a function of

  16    utilizing the language from 510(b), that those claims against

  17    the debtor, somehow are claims that the debtor owns, and that

  18    can be enjoined by virtue of the position that the TCC is

  19    taking with respect to all of those claims generally.

  20                Your Honor, it's just a nonsensical position but the

  21    issue that Your Honor pointed out is that if they're seeking to

  22    enjoin the claims against the debtor as well, they can't just

  23    look to my client who has filed an individual proof of claim.

  24    They've got to deal with every investor, institutional,

  25    individual, or otherwise, that files a proof of claim on or

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   1    before the April 16th extended bar date.               You can't just get

   2    the relief from one, and not include the other in an adversary

   3    proceeding that's intended to shut everyone down from

   4    proceeding with claims against the estate.

   5                So Your Honor, the claims against the debtor emanate

   6    from the same securities violations that underlie the existing

   7    complaint in the district court.

   8                So to that extent, there very much similar, but the

   9    fact is that you have bankruptcy claims pending in this court.

  10    You have an extended bar date that's coming up on April 16th,

  11    and a claims process would have to proceed when the dust

  12    settles with respect to all of the filings.                So --

  13                THE COURT:     Well, that's right, and they -- am I

  14    right, that whether it's 1,000 proofs of claim or 10,000, the

  15    debtor will have to decide what to do about it, because maybe

  16    their claims are objectable, maybe they'll have to negotiate a

  17    settlement, maybe something but at the end of the day, some

  18    number of folks will either have or won't have claims that are

  19    allowed against the debtors' estate.              That's the end of it

  20    period.

  21                MR. ETKIN:     That's absolutely correct, Your Honor.

  22                THE COURT:     And I believe that unless your appeal of

  23    my Rule 723 decision is successful, then there's nothing left.

  24    I mean, you have no -- there's nothing left to do for your

  25    client vis-a-vis the debtor; isn't that correct?

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   1                MR. ETKIN:     Well, I always like to think there's

   2    something that we can try to do to make this process work, and

   3    it might be a function of people feeling some regrets that we

   4    weren't able to do this on a collective basis, that are now

   5    compelled to do it on an individual basis, but absent some

   6    resolution on a collective basis, Your Honor, you're a hundred

   7    percent correct.       The debtor is going to have to deal with

   8    1,000 plus independent claims.

   9                THE COURT:     Well, but stated differently, am I

  10    correct, Mr. Etkin, if Judge Davila, whether, procedurally, he

  11    can't do it now, and procedurally it could happen later, if at

  12    some point Judge Davila determines that the plaintiffs in the

  13    action before him are asserting claims against the debtors,

  14    then we're all done because the automatic stay, and the

  15    discharge, and everything else is operative, and it's almost a

  16    nonissue, and so whether Judge Davila can decide it now or

  17    would have to decide it later, it seems to me that if PG&E gets

  18    a discharge, and it's under -- confirming its plan, there's

  19    nothing left for the plaintiffs to prosecute against the

  20    corporate defendants -- the debtor defendant, and to the extent

  21    that those plaintiffs have claims against Ds&Os, that's another

  22    story.    But if they claims against the Ds&Os, it's because

  23    they're direct claims, and also the investment bankers.

  24                MR. ETKIN:     That --

  25                THE COURT:     So -- okay.

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   1                MR. ETKIN:     That's correct, Your Honor, and that leads

   2    into another very important question that the Court posed, but

   3    I didn't really hear an answer from Mr. Richardson, is that

   4    there are motions to dismiss for failure to state direct

   5    securities claims in the case before Judge Davila.                  Those

   6    claims were between nondebtors and before an Article III court.

   7                Judge Davila is either going to dismiss those claims,

   8    for one reason or another, because they fail to state a claim

   9    under the federal securities laws, or he's going to deny the

  10    motions to dismiss which necessarily means that claims have

  11    been stated, not proven, but stated under the federal

  12    securities laws.

  13                So if this Court is being asked to deal with that very

  14    same issue that's now before Judge -- and properly before Judge

  15    Davila, and I think I heard Mr. Richardson acknowledge that

  16    it's properly before Judge Davila, then how would you square a

  17    potentially inconsistent ruling from this court on that issue?

  18    Not that I believe at all that Your Honor would reach a

  19    different conclusion, but the point is that that issue is

  20    squarely before Judge Davila right now on the motions to

  21    dismiss, and that's where it should remain, and that's where it

  22    should be resolved.        So --

  23                THE COURT:     Well, Mr. Etkin, let me try this question

  24    on you.    What if Judge Davila determines that all of your

  25    claims in his action are, in fact, against the debtors, and

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   1    therefore, not again -- and then can't be prosecuted against

   2    the D&Os, and therefore he determines that the case has to be

   3    dismissed because the automatic stay has prevented the action

   4    to go against the debtor, and then we're back in the same

   5    point, you may -- right; I mean you're out of luck.

   6                MR. ETKIN:     Well, I don't think we're going to be at

   7    that point, Your Honor, because --

   8                THE COURT:     No, I understand.

   9                MR. ETKIN:     -- that's not an issue before Judge

  10    Davila.    We're not prosecuting our claims against the debtors

  11    before Judge Davila, and I don't believe, although maybe Mr.

  12    Dubbin, who I think is on the phone call from Labaton, and has

  13    more familiarity with the district court case than I do, but I

  14    don't believe that any of the defendants in their motions to

  15    dismiss have taken the position that you have no claim against

  16    us, you only have a claim against the debtor.

  17                What they're saying is that you failed to state a

  18    claim against us, and they're asking Judge Davila to rule on

  19    whether very traditional Rule 12(b)(6) motions that are made in

  20    a securities case, a class action securities case, are premised

  21    on violations of the securities laws.              So those are the issues

  22    before Judge Davila.

  23                Right now, there's nothing pending, nor could there be

  24    by virtue of 362, any attempt to litigate against the debtors

  25    in the district court.

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   1                THE COURT:     Right.      Okay.    All right.     I'm going to --

   2    I don't think I need to hear from Mr. Dubbin.                 I think I know

   3    what's going on.       I'm going to let Mr. Richardson make -- well,

   4    actually no, Mr. Richardson, I'm going to let you make any

   5    further remarks, and I've certainly authorized the debtor to be

   6    heard if he wishes to, so let's go with your --

   7                MR. ETKIN:     Your Honor, before --

   8                THE COURT:     -- Mr. Richardson.

   9                MR. ETKIN:     -- you move onto somebody else, there was

  10    one thing I do want to raise that I think is also extremely

  11    important here.

  12                THE COURT:     All right.

  13                MR. ETKIN:     Because I agree with much of what Your

  14    Honor set forth in your issues list, but in terms of the so-

  15    called pivoting that we've raised, and that the debtors raised

  16    in its statement, I think that it's important to quote, not my

  17    words, but the TCC's words, in their reply brief.                   And again,

  18    I'm quoting here:

  19                "The TCC is not arguing that a properly pleaded

  20    securities claim for damages to a discrete group of securities

  21    holders caused by actionable false statements that materially

  22    changed the information available to potential investors could

  23    be a derivative claim.         Rather, the TCC is arguing that the

  24    shareholder complaint does not plead such claims.                   It does not

  25    properly plead valid securities claims because no reasonable

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   1    investor could've ignored the reality of the Butte fires and

   2    its causation by vegetation management failures."

   3                Now, Your Honor, that's where the TCC is at in their

   4    last filed pleading in this case.             That's a focus of their

   5    argument, and that's precisely what's before Judge Davila in

   6    the district court, is whether the shareholder complaint pleads

   7    claims and not proves claims, but pleads claims that are direct

   8    claims under the federal securities laws, and Judge Davila is

   9    going to make a call with respect to the mounds of paper that

  10    have been put before him in connection with the securities

  11    litigation.

  12                So Your Honor, the TCC can't have it all ways, and the

  13    fact is that this case is squarely before the district court as

  14    it relates to the nondebtor defendants.               That's where it should

  15    be resolved.

  16                If the TCC at some point with the help of a seasoned

  17    trustee, such as Justice Trotter, makes a determination at the

  18    point in time where they've actually been assigned claims, and

  19    where they do have an interest, if they make a judgment, that

  20    they want to commence litigation, I can't stop them.                   I think

  21    it would be foolish, but I can't stop them, but now is not the

  22    time.

  23                And Your Honor, as you pointed out, and as you

  24    indicated was your inclination, denying the motion, waiting for

  25    the extended claims deadline to pass, and for Judge Davila to

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   1    rule, and for the assignment of claims to the TCC to become

   2    effective, that's on page 4 of your issues list, is what your

   3    inclination was, and Your Honor, I think that inclination,

   4    based upon all of the arguments and the facts here, is spot on.

   5                THE COURT:     Okay.       Thank you.

   6                Mr. Richardson, do you want to close?              I mean, not

   7    close, be heard, and then I am going to hear from the debtor.

   8                MR. RICHARDSON:       Your Honor, there's four things I'd

   9    like to say.     First, with respect to the 2004 exam argument

  10    that was raised, there actually is a great deal of similarity.

  11    The TCC signed an RSA in early December that these claims would

  12    be assigned to the Fire Victims Trust within nine months by the

  13    end of August.       Nine months is an incredibly long time for

  14    litigation claims to remain unfiled, or unpursued, or

  15    unprotected.     Statutes of limitations can pass, insurance

  16    issues can be unprotected, or competing claims can be settled

  17    out from under us and insurance proceeds disappear.

  18                Now we're learning that the effective date may be

  19    December 31st, it may be next year.              You can't sit back and

  20    just hope that by the time the Fire Victims Trust is formed,

  21    that maybe those claims will still have value.                 We have to act

  22    now.     We have to ensure that the buyer -- the value that goes

  23    to the Fire Victims Trust is the value that we negotiated.

  24                Second --

  25                THE COURT:     Wait.       Where's the statute of limitations

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   1    issue?    We got two years on the house from Congress.

   2                MR. RICHARDSON:       The statute --

   3                THE COURT:     You'll get two free years --

   4                MR. RICHARDSON:       Yes.

   5                THE COURT:     -- when the petition is filed, a little

   6    over a year-and-three months ago.

   7                MR. RICHARDSON:       It expires on January --

   8                THE COURT:     The statute --

   9                MR. RICHARDSON:       -- 29th, 2021.

  10                THE COURT:     Yeah, I know.

  11                MR. RICHARDSON:       And at this point, we don't know if

  12    the Fire Victims Trust will actually be in place by then, or

  13    will it be placed just a couple of weeks.               We've been trying to

  14    take discovery into those claims for three months, and we still

  15    haven't gotten most of the documents.              We can't expect the Fire

  16    Victims Trust to get up to speed if all it had was a few weeks,

  17    and that's why we're trying to act now --

  18                THE COURT:     Well, you're arguing -- but you're

  19    arguing -- Mr. Richardson, you're arguing the 2004 issue that's

  20    not before me on this motion.

  21                MR. RICHARDSON:       Yes.

  22                THE COURT:     I realize that it's before me.

  23                MR. RICHARDSON:       But it was --

  24                THE COURT:     And I am dealing with it.

  25                MR. RICHARDSON:       It was raised.

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   1                THE COURT:     I will deal with it shortly.

   2                MR. RICHARDSON:       But it was raised in the argument,

   3    and the reason I raised it is because it's the same motivation,

   4    and you're trying to protect the value of these assets of the

   5    estate, so that they're still valuable when the Fire Victims

   6    Trust finally gets established.             The --

   7                THE COURT:     But the issue on standing, and the issue

   8    about -- that you've got all these other issues is so -- that

   9    is not the 2004 exam issue.            All right.     That was your first

  10    point.     What's the second point?

  11                MR. RICHARDSON:       The second point is the derivative

  12    issue has not been in front of Judge Davila in a motion to

  13    dismiss.     When he entered the ruling on that motion to dismiss,

  14    if he denies it, it's simply a finding that the complaint

  15    satisfied Rule 12(b)(6) on allegations that are taken as true,

  16    and is not finding that they're absolutely valid direct --

  17                THE COURT:     Well, it's --

  18                MR. RICHARDSON:       -- securities claims --

  19                THE COURT:     -- Mr. Richardson --

  20                MR. RICHARDSON:       -- to satisfy a small class.

  21                THE COURT:     -- findings are based upon facts.             It is

  22    not a finding at all.         It's a legal conclusion.          So it's not a

  23    finding.     He either grants the motion to dismiss or denies it.

  24    He doesn't make any findings.

  25                MR. RICHARDSON:       I appreciate the correction, Your

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   1    Honor, but that is my point.            Because there are no findings,

   2    the directors and officers could file a motion for summary

   3    judgment down the road, it takes a position they haven't yet

   4    taken on that motion to dismiss, pertaining to the derivative

   5    nature of the damage that was caused by the misrepresentations.

   6                THE COURT:     Okay.

   7                MR. RICHARDSON:        This concept that a motion to dismiss

   8    overlaps with the request that we seek to bring was raised on

   9    Friday afternoon, and it would deeply trouble me if it became a

  10    major part of the Court's reasoning without us having an

  11    opportunity to address case law that is already addressed in

  12    these precise issues.

  13                The relief that is brought before a court doesn't

  14    conflict with motions to dismiss, and there are cases published

  15    in the Southern District of New York that deal with that

  16    precise issue where they reach that conclusion, and if the

  17    Court is going to make a ruling based upon the debtors'

  18    concerns raised on Friday, I request the opportunity to brief

  19    those cases, so the Court can make a decision based on

  20    understanding of what the law is.

  21                And finally, if the Court is concerned that we're

  22    asking for a ruling on the individual claims filed against the

  23    estate, we would be happy to drop that aspect of the complaint.

  24    The only relief that we require to protect fire victims is the

  25    injunctive relief and declaratory relief relating to the claims

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   1    that are pending in the district court.               The debtor could deal

   2    with the individual claims after the confirmation date.                    It's

   3    not an issue for the TCC.

   4                THE COURT:     So what you're saying is you would narrow

   5    your complaint to be an action to enjoin the plaintiffs from

   6    going against the nondebtor defendants in the district court,

   7    right?

   8                MR. RICHARDSON:        Correct, and asking for a --

   9                THE COURT:     Why don't you --

  10                MR. RICHARDSON:       -- finding --

  11                THE COURT:     -- why don't you ask to intervene in the

  12    district court action, and ask the district judge to do it?

  13                MR. RICHARDSON:        Well, perhaps we will have to, but it

  14    is traditionally done -- it's been done many times in

  15    bankruptcy courts, and I'd say there are twelve published

  16    opinions in Madoff --

  17                THE COURT:     I know.      I know.

  18                MR. RICHARDSON:       -- that deal with this issue --

  19                THE COURT:     -- I don't need to count them.             How many

  20    Ninth Circuit decisions are in your twelve?                Okay.    I --

  21                MR. RICHARDSON:        None against us, Your Honor.            None

  22    against us.

  23                THE COURT:     Okay.       You want -- your proposal is to

  24    revise your complaint again, you'd have to show me an amendment

  25    if I were to get to there, to enjoin the action against --

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   1    enjoin the plaintiffs from proceeding against the nondebtor

   2    defendants.

   3                MR. RICHARDSON:        We would remove the second cause of

   4    action asking for declaratory relief about the proofs of claim,

   5    and we would remove the proofs of claim from the third cause of

   6    action which asks for injunctive relief.

   7                THE COURT:     Okay.       I'll take that into account when I

   8    decide what to do.

   9                MR. RICHARDSON:        Thank you, Your Honor.

  10                THE COURT:     Okay, Mr. Richardson.          Thank you, Mr.

  11    Richardson for your time.

  12                Mr. Slack, do you wish to be heard?

  13                MR. SLACK:     Yeah, briefly, Your Honor.           Richard Slack,

  14    Weil, Gotshal for the debtors.

  15                You know, unless Your Honor has questions, I do intend

  16    to be brief.     We really had set out two issues and the first of

  17    those really only arises if the Court is inclined to reverse

  18    its tentative, and grants the motion, and if it does that, it's

  19    the debtors' position that in the order, it should be

  20    consistent with the language in the stipulation between the

  21    debtor and the TCC, and in particular, in paragraph 2 of the

  22    stipulation, the TCC agrees that:

  23                "The foregoing standing and prosecution shall be

  24    limited to the sole purpose of a determination as to whether

  25    the claims are derivative claims that belong to the debtors'

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   1    estate, and if so, whether the pending action in the pursuit of

   2    the securities proof of claim should be enjoined."                    And

   3    paragraph 3 goes and confirms those limitations.

   4                And it's our position that the order again if Your

   5    Honor is inclined to reverse the tentative should explicitly

   6    include that limitation.

   7                I would point out, Your Honor, that I was prepared to

   8    point to the same language that Mr. Etkin talked to from the

   9    TCC's reply because it -- that's language that concerned us,

  10    and that quite frankly, caused us to file our statement because

  11    whether or not a complaint alleges in particularized

  12    allegations of direct harm to shareholders is not a question

  13    about whether that complaint is properly pleaded.                   It literally

  14    is a characterization of the complaint.

  15                And so when the TCC says that they want to bring

  16    motion to dismiss kinds of issues before the Court on its

  17    adversary complaint, that goes beyond what the debtors have

  18    agreed to in the stipulation.            So that's point 1, Your Honor.

  19                Again, and point 2 very simply, and I won't belabor it

  20    is again, if Your Honor is going to reconsider the tentative

  21    and grant it, it is important to us that the Court not reach

  22    any insurance issues.         If Your Honor has any questions on that,

  23    I would be happy to answer it but we think those are entirely

  24    not relevant to the issue before the Court, and we set out the

  25    reasons for that in our papers.

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   1                THE COURT:     Okay.

   2                MR. SLACK:     So with that, Your Honor, unless you

   3    have -- I was going to say, unless you have questions for me,

   4    those are the points that I wanted to raise.

   5                THE COURT:     I have no questions.           Thank you, Mr.

   6    Slack.

   7                And Mr. Bray, do you wish to be heard from the

   8    committee's point of view?

   9                MR. BRAY:     Your Honor, we submitted a pleading.                 I

  10    mean we essentially agree with the stipulation that was entered

  11    into on this issue granting the TCC the standing, solely to

  12    pursue the derivative action.

  13                Other than that, we have no comments, Your Honor, and

  14    of course we'll follow whatever ruling you wish to enter.

  15                THE COURT:     Okay.       All right.     This has been a long

  16    morning, I --

  17                MR. RICHARDSON:        Your Honor, David Richardson, may I

  18    just --

  19                THE COURT:     -- will conclude the hearing unless

  20    someone wants to be heard.             I'm sorry, yes, yes?

  21                MR. RICHARDSON:       Your Honor, this is David Richardson

  22    again.

  23                May I just respond to what Mr. Slack said, and it's

  24    actually purely with agreement.              We stand by the stipulation

  25    that we filed with the debtors.              We are more than happy to

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   1    proceed under the limitations that are in that stipulation, and

   2    as I mentioned earlier, we would even be fine removing the

   3    reference that's in the proofs of claim, and we don't need

   4    relief on those in the same way as we do against the pending

   5    action in order to protect fire victims' rights.

   6                THE COURT:     Okay.       Thank you, Mr. Richardson.

   7                MR. STONE:     Your Honor?

   8                THE COURT:     Anyone else?       Yes.

   9                MR. STONE:     Yes, Your Honor.

  10                THE COURT:     Who is that?

  11                MR. STONE:     This is Alan Stone, Milbank, LLP on behalf

  12    of the official committee of unsecured creditors.

  13                THE COURT:     Yes, sir.

  14                MR. STONE:     There was a good deal of discussion about

  15    the 2004 subpoenas, and Your Honor alluded to the fact that you

  16    would be dealing with that soon.             We simply wanted to make sure

  17    it was still on the Court's radar and say that obviously the

  18    comments today were a little strange in the context of another

  19    argument, and I think Your Honor has our position in the

  20    letters that we've written to the Court.

  21                THE COURT:     I have your position.          I can't make up

  22    many good excuses for having matters under submission when I've

  23    got all this spare time, but I don't have so much spare time.

  24    I've been reading a lot of stuff that gets filed at the last

  25    minute, but I can assure you that on my to-do list is the open

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   1    issue of the 2004s, and I hope to have something very shortly

   2    on that.

   3                 MR. STONE:     Thank you, Your Honor.

   4                 THE COURT:     Unless anyone on the call wants to be

   5    heard on any subject, I will wish you all good luck, and good

   6    well, good health, and our next scheduled hearing is on the

   7    29th, I believe, or 27th, and my intention is to try again to

   8    get the video up and running by then.               I think we may have

   9    solved some of the problems that we had the last time I tried

  10    unsuccessfully.        So I will look forward to hearing from you on

  11    the 29th, pardon me.

  12                 And Mr. Karotkin, you will take under advisement, the

  13    question of whether we should schedule some other kind of

  14    hearing to deal with these preliminary matters.                  You don't need

  15    to respond now.        All right.

  16                 MR. KAROTKIN:      Yes, Judge.

  17                 THE COURT:     All right.       Thank you again.

  18    Congratulations on getting the Butte matter out of the way, and

  19    the situations with Justice Trotter and Ms. Yanni, and the

  20    motions for standing issue is submitted for decision.                    Thank

  21    you all for your time.

  22                 MR. KAROTKIN:      Thank you.

  23                 THE COURT:     Operator, we can conclude the call.                Thank

  24    you for standing by.

  25             (Whereupon these proceedings were concluded at 11:46 AM)

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   3    I, Hana Copperman, certify that the foregoing transcript is a

   4    true and accurate record of the proceedings.

   5

   6

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